 Case 2:11-cr-00036-MSD-FBS Document 395 Filed 05/26/20 Page 1 of 13 PageID# 4452
                I |"V*^   C^Ajj I sis Sr(
          f-e£- TltS ^sr«Jc.-r ®r= Gif^T&L^ -^&rZjtr                            sltLax^^A



Ui^iiT(54 STflre^ CP
                          t%-f^                     j
                                                    >

  Vc                                            '              fir. lOO- :^; ita-/.^ .


                £(— (_LOWj^

                                                   ->




         L^oTio^                      (Vp^'^i/i.rrne'^r ep c24>uiC>SeC ^ S-cfeo^T

 pu£.Su'^'^r To v-^/9 S^^p^op" 4?oi>^                                 fST w-.s-<i.^                      ;
                   B^ Ti^ PS/? Pu(} .^-*i^- f'Os9i /j> S7/^r. «r/9f (^^/p")
 S^a. uPoa) ^'Th^rOLhtl^Ae'^ /h^ (2oinP3^i^c> SZefiSOfdi I
     (Z-ill.CM./n^T&f^cSi AtO^    I
                                             /KjEO        CjPci             ^FsS 0^ Soo^x
      r"£^/vi                                Q/^                     S                 'To §/1/a3G /^4
                                  /ffc?                        Qp ^2^5rfe>^<3^AS7~5 tir<^/UT^

     CZ'^Mt^-S ^^Jo^ ^                          isE^r^/vi^bAtD'T                             .LUDHO ^/
       ^^PfeC-Tu^L^                          ^va VU.^Pei^bL,:? CcuiU- Tp &yrer(L^
            ^             OE-iScJ^. ^^£_/W^7(eiv3<j,    fVjC                      C'</«iT'vZ8"a)T"
(^              'PgJL iLc l^iiLc             (O"^          ^^        '•"'       C^. OO'iP<^;^jOAj^TE
*5^5L^As£                                                                    S»5>^T25r0cis? ^UfES^ih
   (O /^ U^c.^ SkST'^
Case 2:11-cr-00036-MSD-FBS Document 395 Filed 05/26/20 Page 2 of 13 PageID# 4453
Put. . aJO. ''1^-3^1 1%^ ST/vt,                                                         lOthc-H       .


                                                    pcLr&Ud/xTt^^'^                                o;r,
*2^r^>06J                            e>^(+«-ujirr.oc                                                              oP
f( CuSfiiSf^ir^                "Tfi^                  <h                 %^cM            /-/DV'rC"^       TTfc)

  ^Sr'OAieg-.^                            S>(L '7^                        07^ 3o^>/W4*
  I2jC(LBiOT                 §u.c>i A                                     TPtzT (Ai^HL|>£J^ 6? ftirS^

                                                       U>VVtdXB>)^                     (^^A^OfL At U%c^ 3Stx(d^^
      /Vf'nS**-       SAVWi-ft a)C»                                AJrCT^I^jflT/Ap®^     ft*PP^?VC- .OlO
             /'V ,             Coo^»Os>^Ua C_P.                                   Uuox^i^ XSc^N^ A
                                                    ft&Sk io/oiv*rc;


                cS"                                        Z^O"^ ^ LX.'OWi> ^oTutA^/^Clb vVa-^
 y-&^L/r\                                           ^P.
(^fT«5"(2_     C-£>|0Cl^>c^^•OC,           TV^          f^n^olLC 4L9T                        l"^ §fcCX^»£>Ai E:CS3 \A
*to     Tl^          ^£>ii,7(SyC^T T^Va-t TfcVx?*^         <V(i^                                      StVvT&m^fO«"


    " UiA^            <5 n^OC^AiC/T                     ^ 'THft-r AiS. S
   Co li/vii?'                            To       ^--CSuyJT' ^^v>,5"      Oii—

    To ^VT Lcmr                      io                    th^ StaTv,v%^^                  Kubi^Au^ ;^2,
  ^O^CfLBh             Q>p-r&^^S                      CLoiO vi \C-Ti        0^              <A^ f€>Ul*j<^ ^*.f ^ThiP
        i        v/s'^^k^T                     ^
  ^                                               ^^^eoTe/OC^ O/O Clpvt^vT Ok>c?
  u:>t)c{(^ .fe<T cLc?<^^/4re>0T kj^ctxK Ti-VS                STaT*^7c.2.v^ ^dtT
           U)Sc . ^ *V                   1-^e.rtT       Tcto P^=K-TuA-<—
            ^-Ae4LG»^tCk.^L!>                  T«t£^                              s     CZ/f^d ,
   'TvVC "^(OP             V;V/«i.        rT'S^ivi/ji)^ TWaT                              S 0*0^^
                             T^Worfc^          14       vMs      Ue'^GT^ ipf
        Case 2:11-cr-00036-MSD-FBS Document 395 Filed 05/26/20 Page 3 of 13 PageID# 4454



    Oio           >^tAtoc         SU?(|           Tfe^a"                                  cof^ ;5:i5b^c.r-^ Ti;i> A £ercA>>

^                            ,-JT^^CTfla0iO~ O/O ^^<<.2-                     (i-^^e**^'"^ CLr ^ S''i/^ Cl©t.tA> T" ir^2bfc f'^evO T
               C^^SrftflM^Ji K Co/aSPi^Uvc"-f fb                                 lOcJi *i 7oSrVe^ iOir»( jZo7t5>C>r
               b^-^r' V-^A-C(            ^                                   (\^j> CoCiA-iniJ                       (L/K(.^
           CZ-^Cl-fl-*aT^                                               A^^t& i j0^g>a^I                            T^Vs^oS" * *^>b
vli<bC^7*4>^                                ^{                         ^ V           j                   \»o ^iv<oWi.o?:> op ^ gH-!^ •
      0<o                                    (M                        Ar '^e"1 lL«TwiL<^«3i At                                     \/e^cT
    G> r-                            IV^   To     'Tt^^ *>-j^                        o<^                                    ftw^

        «-t>rr-*( TtV^ p)0 7S30'>                          '^<zT£^b<i^^ S\LiVo<^C.Ar/«^s. <cft. H.ojL) tp Coc^Aiw .
       <V3Pb i^<000                                 o£,/n©^ U>p V-(A<li^:]u4|0^ fcnCi^ ^QS3C&g./0^ OCiCTfcA
            t VfiQt          */"t£?z3"7    'O              PP-* fed f C' ^       ^ tVc*     "^-otCi-''**^ ■                 ^ rV^       v^^'2>At'^'T s

            IN^T G\A.vV"r^                                                 S^<aS«L-e^!.it«Oi^ *5^F             Jpr<Lc AtUvv,
       «'7 /^"XaeMc,                                      Aic>j>                            uOrrA         nC>Te7*>Ttc>i^    To ^cTCLi k/r^
                                                                   s




                  1^                                            \%s.                                Vofi^ ^^^5>C)fe>OcS"                  )^Vi5"
                                                   ftj-                                                                     ^^jiOCcT

              T^Ka-T TvAcS                                  3                   (t^y?je02.<\oli3' ^9— (CJ-Vf 3*7
             ^(L'o<SQ-fWvU.               Of                               A\                   TTd:

      fo^ ^<ci&&                                           7;cloa^^ fv^fe                                                  ^:^ce^nwj7
                 tfcCL       V:V>^    P-SE^Crf    tv^

             ^A^*T<oC-S                                                  ^



                      vvv.                                                Phoi> CorriPp^^ Ss/vsQ/^                                  4
                                                   Tt3^-> Cxi- -V^^l^-CAC ctO^ ^

                                                                   ©
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jl,                                                ftoT S                                            Or Lxr^                      J^&o»^ a^«s>3~
                       V^^bO'PfrToS-^ ^.g>0»7<2:x>-€: 'Ssl^i ^ ilir?kS£''« t>r                                                ^i^i-B;nabA?0 < 1
       ^2_to£^ dZc^fcvltc^i                                                     C^r ^*^^7                                           Gsft^
       ^ ^2jS&xtC7-*iwi>                           ^                    ^r 7ffcT                                V-^tr^^A-SL        ^ v^JJTC
                        C_               ^Alc<0^                I                                                                                         1
      T^                                 "w    C^                             QU>         0Qi^ - ^\cLe^'^ Off1^0^^a.
      {J'^X. CJoMA^'i^ ^                                C^fecTs o7 Ac,i«o6 43^                                                                 fr^cio<5
                         Orfir0^&^                 M                          ^ G. ^'Trf^ , uSWi,i» ucc^ c^v.)
                                                         -Ot*                   ^^^€>57t?*it.»S'      <t5(o     Tex©        rpCaSTO^T

^ T*^                                         Tfiv CTfl^'                                  hos^ r»^' tc<s*-^ fTP«y.>ii
          Fo 4-^       Q-i^Po'^%J(^^          f-Vti^                                    '"(fetTiJ                        j,/iaP(pf?'^^ ,


                              , *T(-ti5                                                              S-<:r>07e>id^ tt> LoAiG>e^
           *7>mi                                                                              Ch^f^f                               (-2-3
                       /V^-<n»7r»»CA                C^r^tntT"*'*^^                  2s?^ m«-c£-;m5^2                                             2rAi*^
                                                                                                                    /


            r




      ^ TttS' ^"^tt&^sif^ Qp                                        /2|^                                  /'^> ^ ^fefC^A-»jTS
           (Z-Cjpi'^"=^ V       C-t^feS/pi dVW7-»e^                                Oa^^-Y           ?uk^e^
      V         "F^T     'TH^         .^^rfec^TA^f                      \>S                ^er>vi^.'7/ 07~
                                                                    >


      ^)            >^rGJCv^A»ur                       ^6w/»»^ 4c^S^rc3i /W> (lo/nZ                                                               op
                Ati 2j2Sf2?Pffi^^//7y                             /^CT.^ »

                                 ^ TttT^7           ^-c/^'^yhw ^Z"                                    ^7*Pc^Z-/*^'A^^/)                       ts-S,^;^
                (sf^<^iitc^ To ?.':H2Tc,i?<fr«5' /U»'^ Af/H                                                 ./WieJC }-{^ACie
                ^ V,d^Tyn             j^/ui^'T                                So frt^r                    /)nfi*f
                                                                         r



                             _T-/>>           ©p*                                      Oa»          Art                 zyiiHiCi'' * atva^^ A-^i3Vy?£^
                                                          5)                                                                   '
      Case 2:11-cr-00036-MSD-FBS Document 395 Filed 05/26/20 Page 5 of 13 PageID# 4456
                                          C                                         4-^^           ufaM^                              •
^ Tf^                                                  Tnh                            e;r               Co^/vruAii-r / ^ 0»^i■^
     Jp()-rv»il                  <V                           fC                     'V «

       *TfcV§,                                M^A^iCi'iTV^.oG^           fSlen^                   pu.vX^''^ ^                  ^ ST-zA^cSLe
  ooee. A<1|4,'0<S               C<yL)^P V P-AC V              <2:^ ^           '

                  "'^on^W^'r                                                               ^fAC^A^oe^            UST<1               ^AjUvfiLC^.
     ?fi^T/vre          Tt^*^                                            ":7c» ^                               -fesz^ V-^-iaVt^i^XC? v..c<2jAic
 '                           Za^'x^ct:,oTj             PkvC^ <^\.c>T of oTiV^^                             C/oSl^ Tcve d^f2i*45>^7
                                                                                                                                          K




             ^S^rFeicsa.                           ^^^fH^:EQ        VV.M,                                  To Tt^ (toeoi^i^\iv(Lv3A
 CCZon^ li;> l*^") . CseC                                               An^<OT
                                                   cwaru                    ^CrM^                 e-f      f rrvf(2^^;b/vvSK>r                VA^

        Lo£.7            "^^2.                                                              £Aom:i^
                               LL^^Ti                                "^-ewsrss ^                         h'^'vbw^ (i-T5MX> ^^Lf-A^ret,
                                                               C?(HL. ^ tj... 5^^jo*r,
(^ii3 -X'^ ^^^PetO^mrOr                                        T^-c. yeT-^eA-s                            vrib-SB--r A/oi>
           J\-\                                V^ (i_^uS'I Ayi) I (                                                                             t #V-^^ < *23
         fhv>>                        A                            -=^''T^-fH0e:                        fcrFke^ Lg^/ajq
                        i:\'S" l-y



                                  A-X^ i^^rn.iv-fi,V^ Ofii                                                               (—1         1 ^                 /-4^'
                         ^                                                  -                  ^                                5-                —

                  0»^        i (LPtcA^ t5^i                  "^-tiZ-OCT.o^             ^                                                          HHL.
           Too                                ^CLulaJ^                               VA-^TiCvi\'«vfi,\^ ^                                     ^ *-VO«^^
            4A<VcJc- vV\e^ —. _ <-<2.\W f^A^Sik                             'TtXeoAS^^^^                           tri>
                    -N)^^oV€^«Or ClpA^ntf .                                    ^'1 <2^P^C*J3                     7^ P^5:> iTSL
            Af CLZi'iVT          S7^f              /Va>!S^               MiAAs W^-f                       §I          *Ti(2-v-*-              AT
          ^^t<j,*)to<i                        2Jc <i0c>fvi7                                       Tt|-o                         f             I^^xl-T'
                                                                                              '                                                     ;

                    :>of6^            uS L                                      H^jT
      Case 2:11-cr-00036-MSD-FBS Document 395 Filed 05/26/20 Page 6 of 13 PageID# 4457
. "^1                                                                                    A-                  f 'T'O    f^<uS^ /{

    V^OjVor^          ihz>^                                             -^^^C3^(3 dPVf^ rTfte (^rA/lij<SK, ^h
    fi^r ^                                                       ^oS {\ wo«-«ii>'Jarr^                                              i{/A
    «fxJt(C*Y                                            A^/^/y^/^lfJ^^'T/'Ctr                                h'          ^ j^^Lxj/t,ci
                                                                                                         ^


            77fi£                              6)^                              7t> '^^/OC, A HoTio^ OtCi Th'jS"

    ^^f^'fti.jf- ^                     A                                                      a ^-{€>ricA«» lj(Pc^ *T\H^ ^.-AjpS^
. Of--                             ^{Lcny^.          ''Ttf-o       2jBc/^i P'T €>i^ d^                              i2^fe&u6C7 To
                    A Mc>7/ip^2l                                                                  7tf£                       ii^tCiT^
,       o^jtu/fit      /M>/f          2.c^ C-o<S»Ai /                    "Tl^rEsx. 7\^'^ x:>^7(0^^ ;X/^^/^Di^-' A


     "To *7?<^          cK^f'H^Gf^                      (^"1^         ^fAU'lLxT^ h^rti^                  h(L<y^^ f/0 C^^uZ-Ti
    C^o^^iLrjc                        a^<^Ui^'^                                  O^Tdd^cf/nUi                 A ^f9^^{H:>r n>
                A     K-fO'fvC"^       uC>i7H TA"^                   C2.js>jt^7' t^ ^ <^«502-AbA^'' ^i^i/^t-fcsS A

    ■""Toi T^f^ Ca^/v<CP<HV^ fc>-Y "Ttf^                                                                 /'^O^ A^-' 0^
       2-SQu(25T             c^CTv^                            ^^X^f)"1::/-SL     D'p"                       (T'          <£•.€*;
       U^io\T^ Statg^ \/ ^tAaA^ ^ iOo, T * c>:>-- ci -lo                                                                       pD
        u. S'^       Ti^.sT'                              74.04^0^0^,                                    d                      At         [
                 ». \j JV, SgP'r. t^O^                                                        vjtlifH G:fC>r«*rL,0Ci      To
    V-V.cTioi^         ^S^Ca-v^scT             V-x^Ar^LS^c^ ^«T>                              \    Act T>t^ Q>c^\xGSiT .tovT/^/'A
                                                        (A^AxJ                           CLc»OCXvJi^ci^ A -3>^fe>0^Ati:sT e>u
     fiL*^ Ac          VL?b(i»o^                           "nv^rG CLou^-^S                                                            TAic^
      C-OMCt^G.                         tTo /VcT                                                                                    .X^
              x,y^P\€^^fCi ^ ^3!^0Ni\<Td V-V ^^>s.cAeii^s                                                          'TRS
            %                              ^

       kL^ 4:\:^                 i-toTT^e^*^, SeS"^ £vcJ'                                           -SrArS                 Amaiyc-A
       v/                ^                                                                                         M "^S C: cd>i5"r'
            U^\t3 /ibe>S'^3,                                         u6U aX7c^Si4, <vt ^3(s.b. XJ>J>:S<£P
 Case 2:11-cr-00036-MSD-FBS Document 395 Filed 05/26/20 Page 7 of 13 PageID# 4458
                                                        g;5>T«-n.a>                                Mori^


 A-Frer^        2:S^>yitf^Ci                            • ''''t1+e(L^" A/L^ 'T^'o                      l^a^S
"7^                 "TAtS ST                            VH Has,^                     Lj^P^S £>f 3^
                                        ^                     .                                         «■<
Ttte     H<^T        ^cAi>/'^c»                    TH^f A La^Q               dp      3o3>/^-S
                ""c^ Tite                                              «CVk-^5 ^
(jC^Aat VVaT^0^^                     "Ta^       Cj^Te^'ko I CJ
 tOcv\(a)     bp CJ.-sIcaI) #ic>::>         ihivTM-                                ^                   ^ 2-c^ucXT
 !p&fL C^O/kiPA^^*On^^^«T                                  !>uT~ ft                                            A^or Za5
         i^LlTb*    ^      ^^C-SaG                      AJinv^»i^ii,'it2Arr>)'S         ft PPEW^                      TB
ljL)A(Z:4€vii ^a>e>::>M      -1A5           ilS'&M£rr , jU::>^reAb. ft ^cfero^A^r c^?ivsle(
       ^M_LjD<-^E]fc>      To     fTcP       ft-    W^cj"?^ oA>           CIjsxj^ 3-0               a<-< s,   Arrcft-T3
                    O-S^I^fviBbk        *T5:S       ^2^;S)u£rST'                       ''PftfirT


 JiE^C/WiP' O*-             ^iP»vlh<XfAiS^T                            ^^DrviCP£^53^ V-<» ^■HT' ft^Vt?
J^CjhOb ^ Pk^ao^T                                            6/eiiz-T ^^f%/C:xl>ft^*<" Vu.ds'v^e A
       T^/<i"7rfhUL^       (Lt£>»^^"rft*-j                    lS»'rP-ft'T7«Ni(S                        *^?-OC-trtQ,
            p^T L_^<viT '•""Ti^^^ DTv^t^S- ^T]^S'rQ^c'rs ^ TTV^ &Ds)\c:CjOrnB<Crr
                   '^Aii        "fn^T                        fnOj:^        fVC-Csuiy) ft ^e'r^J>AiC:ir
             /OOT''2>o      A^eJiLC *TApS^                        3D'3>fM3                             fkociSHOif-i
    "To <2Lovt<2-T'         CAajiTSO S>TRrB^ \/»                                  ^S-c^r-p-oS X).                 SfcP<
 3"^                            bv                                ^ L-iovTSts '^TfV'T^ >/,
 I L.'-<l>r^-SSc>7                ^                                ^                           bw
                                            \j^FsTep^^3^s7X4<^T                                                  ftyC^i^T
(5«S.TE(2>::> Jl^iScioc,-r oP                Te#OfO*0S>6E£                        Ac,5iJ^T> X>en5>o>AXrr^
            G^nFCBo        Tb         v^c5Eb            Tb
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                                   Or-                   {VcTiO^vi                                                 Af24>e/0 5^ ^ ,

    Cj^r>iiT»?A                             nT ^I^-oVd f^«iSC"^ I ^C*/?                                         C-trTC'-^                       3c/^
     coc                                  (jut:> J>. lC)/hW ,Tmio£                                                                   C^so
    S^ A^nL'-/ 3c)                                                                         \S^frfU^^^                                        ((f^
        QZ'^uB^T)'                                     Sr/?rcS x/^ ^oeJL^                              « 3W(-o/-74^ P<Yf c^-S
                           ^                                                                                       j£l          /■
      ^sr. Lk-^fS                                                          ^ou3D-f/(h^i^r f
                     l€, p-ot'f^^'^f^'^i^'T <£y^T'fC(=i!^ To ffc^ Mof'^ t/Oi'7>^ Ci£>"
       AfT^ii tAiA#t^>0Vl                                            pSi^cfSSr                                .'f({ocr<Sfl                Er<£jt2Dj*"7
       ^u)> y^ioT" 'Rs4-S.i^£:                                                                  firtP&c) ,
      (j^ *5-E^C-OaJ^ kyOM "To                                                             Lj^QlXM:?S                                                 /9
          Ps<c.          Or-^ 3-Cj                            /st                        t^T ^PPLf^ Qf^Aj^ (f                                    ^^#4^
                           CZ,Q_^^                                                        B.^^W(?-S7 ^w^/Oq                                      2c)
                  xf y               /r                                     *                     ,                                   '
            *      A^PSvS                     Orr^A)                                     uc>irti i-y           {Z^/c^(0o7hvo^                         f\-
^fAiCaCZ^ 'To                       Ao<-          "TSui,                                          So 2>/h<s'' /vy/^Q-ZfC 6-4"
                                      Tff^ ShrAT/p^)                            A Oa<2j^^                                             4
tOiTH                    3-0                  • 'TA-/^                                                MLocd A- ^^r%AJ:b/9^T "To

C5b             <2-^07-^ y           *To                                        «A                    5:a!) AS, A>pi~                                      T
A                                  h<j(T fp A t^Ar^^UXi                                         Act       uOj'71//>^ 30 X' !>M4C T^-fer
                          '               t                                                                                                      >

                              COOw^lj^          ^Ci*                                     ' C>          (Ls.              A                  l^rRATisS;

      PvTt^0>\C .
     Vis^r«T<croe(L                           fy -W^o <^§                  Ci77Cf/wr A/O^                 /f^k
                         4^ Co^ST/UftS^s                        A^©€^                6ieoA^4v .                                                   Y
                                                  C/* • ^           ^7*;                                        ■s$~Tijt-       30          C:=£^ /
                               /                                                     /                                      '
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                                                                                      «                  S



/^LoMj>         ^ (V                                                      Ar                    :>3l4io// 77f^
                         tv5 *^"5i3-uy               iOors             prtO^i
                                                         N




                 'jT,. /VfeL               ^AiT^<-*<o<^ -(Hts Liif«. 5gcr'<^> ^oWic R.>1.
to\tiC^f     lA-is.    Ccx^TiOtfO C2^?                                    f^rO$) coivs.                        . "fO
J^yiKi^'^o^            H^C-                                        U-t9. -fVT LxBx^iOCTa^ 7^/^ C ^
<i»{,t>^?wcJ<L^        l-V<^        ir\-^»{T<t/
M^Pj^ '^^f/^^C/CiC'SS o»iiTr^                     VV8"ft-e-T                     ^               ^                      ^
 V:::iC>Lftex»G' ^^LcsTdVf^ OST'o^                       ^T<
                                           rljO^-Orii.             ^        ♦,                  O (r- tfcV-d N^tr'^ic^^
  ^(-"CMl)                     ^^                                                         uS^ fl- Cjwc ILOACVC^^
 "To                                VV*^ fV\Os^cr^SOX pCo'T^                                    (A"*^ ^S Pi A-c^c
  (!4AD ^dTV^                            LJBrT ^jOicLuJC .                                      A-^c- CAit^ CLo?C^^
  V~\ S^^O(VT*c>»o                                     ^"C^ PA.C. ^                                  W^G,'T^vs.(_oY t
l4C-f                          ^O/nC                                      6.Si^VvG ^CAL5:>^1t\ArL(^€wC»'c ^Al<
         e»fkiL VJ^O KaG. ^M<5To?Ii-e>UL •'XAeiv*A»7c C^mCh ^ A$P((tiO S/MG
              A^chJO ( mc, C!_\^L€roPrO^^
                                    *                                                       *
                                                                                                (\c^crTAr/vii<OoPHB?^
 3<>4~ VlG       f
                                            CiTtA-rS^          \
                                                                          h^TSiuA^                   f
                                                                                                         ^Pr/>^%o.(j^\,^
            .O^ VaO        f
                                (VT'^Csffc^Ta't/O Ivt:> VH.G / VA^3i>aroLoCTv&>«>iS^


  U-Lcv^J>        fs                                 VjO^TiaJ^C,                     ^S^-cC.Ti-45
To ST^e^-T                           TD

 'TSS.t       77^0^     ^sWs.           VvS^fC-''^                     ' Ofl)                                  ^ f~
    NONJciffxtcdt.                          't^A4)S^,»ivA>£:                                    Viifts lUuH
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